          Case 2:18-cv-10644-CJB-JCW Document 1 Filed 11/07/18 Page 1 of 6



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


    KEVIN LABARRON WATTS,                               CIVIL ACTION
                   Plaintiff,
                                                        CASE NO. _________________ 
    v.

    BP EXPLORATION & PRODUCTION, INC.
    & BP AMERICA PRODUCTION COMPANY, JUDGE BARBIER
                   Defendants.        MAG. JUDGE WILKINSON

    Related to:    12-968 BELO
                   in MDL No. 2179




                                        BELO COMPLAINT
TO THE HONORABLE JUDGE OF SAID COURT:

          NOW COMES Plaintiff, KEVIN LABARRON WATTS, who submits this Complaint and

respectfully pleads as follows:

                                            I. INTRODUCTION

          1.      This is a Back-End Litigation Option ("BELO") lawsuit filed pursuant to the BELO

provisions of the Deepwater Horizon Medical Benefits Class Action Settlement Agreement in

MDL No. 2179 (“MSA”). Record Doc No. 6427-1, Record Doc. No. 8218.

          2.      As required by the MSA, Plaintiff has abided by the requirement to file a Notice of

Intent to Sue and has filed this lawsuit within six months of notice by the Deepwater Horizon

Medical Benefits Claims Administrator of Defendants’ election not to mediate, per Section VIII

of the MSA.




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              Case 2:18-cv-10644-CJB-JCW Document 1 Filed 11/07/18 Page 2 of 6



              3.             Plaintiff seeks compensatory damages and related court costs for Later-Manifested

Physical Conditions1 (“LMPC”) he suffered as a result of the Deepwater Horizon Incident2.

                                                                    II. PARTIES

              4.             Plaintiff, KEVIN LABARRON WATTS (“Plaintiff”), is a resident of Pensacola,

FL in the Florida Norther District Court. At the time of the Deepwater Horizon Incident Plaintiff

was a resident of Pensacola, FL in the Florida Northern District Court. Plaintiff has been designated

by the Deepwater Horizon Medical Benefits Claims Administrator as a Clean-Up Worker, as

defined by the MSA.

              5.             Pursuant to the terms of the MSA and this Court’s BELO Cases Initial Proceedings

Case Management Order (“BELO CMO”), BP EXPLORATION & PRODUCTION, INC., and BP

AMERICA PRODUCTION COMPANY are exclusive defendants herein. Record Doc. 14099.

Both defendants are incorporated in the State of Delaware and have corporate headquarters in

Houston, Texas. Defendants will be served pursuant to the BELO CMO.

                                                               III. JURISDICTION AND VENUE

              6.             Jurisdiction and venue are proper before this Court under the BELO provision of

the MSA, as a related case to MDL No. 2179, and specifically arising from the rights and

stipulations provided in Section VIII of the MSA.


                                                            
1
   “LATER-MANIFESTED PHYSICAL CONDITION (“LMPC”) shall mean a physical condition that is first
diagnosed in a MEDICAL BENEFITS SETTLEMENT CLASS MEMBER after April 16, 2012, and which is claimed
to have resulted from such MEDICAL BENEFITS SETTLEMENT CLASS MEMBER’S exposure to oil, other
hydrocarbons, or other substances released from the MC252 WELL and/or the Deepwater Horizon and its
appurtenances, and/or exposure to dispersants and/or decontaminants used in connection with the RESPONSE
ACTIVITIES, where such exposure occurred on or prior to September 30, 2010, for ZONE A RESIDENTS; on or
prior to December 31, 2010, for ZONE B RESIDENTS; and on or prior to April 16, 2012, for CLEAN-UP
WORKERS.” MSA Sec. II, Para. VV.
2
  “DEEPWATER HORIZON INCIDENT shall mean the events, actions, inactions, and omissions leading up to and
including (i) the blowout of the MC252 WELL, (ii) the explosions and fire on board the Deepwater Horizon on or
about April 20, 2010, (iv) the release of oil, other hydrocarbons, and other substances from the MC252 well, and/or
the Deepwater Horizon and its appurtenances, (v) the efforts to contain the MC252 WELL, and (vi) RESPONSE
ACTIVITIES.” MSA Sec. II, Para. X. 

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              Case 2:18-cv-10644-CJB-JCW Document 1 Filed 11/07/18 Page 3 of 6



                7.           Jurisdiction also exists before this Court pursuant to its maritime jurisdiction under

Article III, Section 2 of the United States Constitution, which empowers the federal judiciary to

hear “all Cases of admiralty and maritime Jurisdiction,” under 28 U.S.C. §1333, and the Admiralty

Extension Act, 46 U.S.C. § 30101.

                8.           The claims presented herein are admiralty or maritime claims within the meaning

of Rule 9(h) of the Federal Rules of Civil Procedure. Plaintiff therefore requests a non-jury trial.

                9.           Venue is most appropriate in the Florida Northern District Court as Plaintiff was a

resident of this Judicial District at the time of the Deepwater Horizon Incident.

                              IV. FACTUAL BACKGROUND AND CAUSES OF ACTION

                10.          During the Deepwater Horizon Incident, Plaintiff was employed by E & R

Environmental Services LLC, 6455 Powers Ave. Jacksonville, FL 32217 and TL Wallace, 4025

M-S35 Columbia, MS 39429 and C & B Contracting Group INC., 13453 North Main St.

Jacksonville, FL 32218 to perform Response Activities3, as defined by the MSA.

                11.          Plaintiff was exposed to substances and chemicals involved in the Deepwater

Horizon Incident, including, but not limited to oil, other hydrocarbons, and other substances

released from the MC252 Well, Corexit EC9500, Corexit EC9527, and other dispersants and

decontaminants used in connection with the Response Activities.

                12.          Plaintiff was diagnosed on February 13, 2014 with Chronic Damage to

Conjunctiva and Chronic Rhinosinusitis.




                                                            
3
  “RESPONSE ACTIVITIES shall mean the clean-up, remediation efforts, and all other responsive actions (including
the use and handling of dispersants) relating to the release of oil, other hydrocarbons, and other substances from the
MC252 WELL and/or the Deepwater Horizon and its appurtenances that were done under the auspices of the Unified
Command, BP, or a federal, state or local authority.” MSA Sec. II., Para. OOOO.

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        Case 2:18-cv-10644-CJB-JCW Document 1 Filed 11/07/18 Page 4 of 6



         13.    Plaintiff’s diagnosed medical conditions complained of herein were legally and

proximately caused by his/her exposure to the substances and chemicals involved in the

Deepwater Horizon Incident.

        14.     Pursuant to the MSA, the following issues, elements, and proofs need not be proven

and may not be litigated at trial in this BELO lawsuit: (i) the fact and/or existence of the MSA in

order to prove liability for, invalidity of, or amount of the Plaintiff’s claim; (ii) the alleged fault of

BP for the Deepwater Horizon Incident; and (iii) exposure of Plaintiff to oil, other hydrocarbons,

and other substances released from the MC252 WELL and/or the Deepwater Horizon and its

appurtenances, and/or dispersants and/or decontaminants used in connection with the Response

Activities. MSA, § VIII.G.3.b.

        15.     Pursuant to the MSA, the following issues, elements and proofs may be litigated at

trial in this BELO lawsuit: (i) the fact of diagnosis; (ii) the amount and location of oil, other

hydrocarbons, and other substances released from the MC252 WELL and/or the Deepwater

Horizon and its appurtenances, and/or dispersants and/or decontaminants used in connection with

the Response Activities, and the timing thereof; (iii) the level and duration of Plaintiff’s exposure

to oil, other hydrocarbons, and other substances released from the MC252 WELL and/or the

Deepwater Horizon and its appurtenances, and/or dispersants and/or decontaminants used in

connection with the Response Activities, and the timing thereof; (iv) whether Plaintiff’s LMPC

was legally caused by his/her exposure to oil, other hydrocarbons, and other substances released

from the MC252 WELL and/or the Deepwater Horizon and its appurtenances, and/or dispersants

and/or decontaminants used in connection with the Response Activities; (v) whether there exist

any alternative causes for Plaintiff’s LMPC; and (vi) the amount, if any, of compensatory damages

to which Plaintiff is entitled. MSA, § VIII.G.3.a.



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       Case 2:18-cv-10644-CJB-JCW Document 1 Filed 11/07/18 Page 5 of 6



        16.     Plaintiff’s injuries were directly and proximately caused by his/her exposure to

substances and chemicals involved in the Deepwater Horizon Incident while working as a Clean-

Up Worker. Plaintiff accordingly seeks compensatory damages as set forth below.

                                           V. DAMAGES

        17.     Plaintiff seeks compensation for the following damages, arising out of, due to, or

resulting from Plaintiff’s injuries:

        a)      Past, present, and future medical expenses;

        b)      Past, present, and future physical pain and suffering;

        c)      Past, present, and future mental pain, anguish, distress, and suffering;

        d)      Scarring and disfigurement;

        e)      Permanent disability;

        f)      Physical impairment;

        g)      Lost earnings and damage to wage-earning capacity;

        h)      Other economic loss;

        i)      Loss of enjoyment of life;      
         
        j)      Increased risk, possibility, or fear of suffering in the future from any disease,
                injury, illness, emotional or mental harm, condition, or death;
         
        k)      Costs for past and ongoing medical screening and monitoring;

        l)      Costs of court;

        m)      All pre-judgment and post-judgment interest; and

        n)      Such other and further relief available under the MSA and all applicable state and
                federal laws, as well as any relief the Court deems just and appropriate.




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      Case 2:18-cv-10644-CJB-JCW Document 1 Filed 11/07/18 Page 6 of 6



                                        VI. PRAYER

       WHEREFORE, Plaintiff prays that this Honorable Court grant all relief to which Plaintiff

is justly entitled under the law and in equity against Defendants BP EXPLORATION &

PRODUCTION, INC. and BP AMERICA PRODUCTION COMPANY.

                                       Respectfully submitted,

                                        /s/ Howard L. Nations
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